                           UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF NORTH CAROLINA

                                 WESTERN DIVISION


                                       No.5:10-CV-66-F


LOUIS RACICK,
                               )
                                             )

                      Plaintiff,             )
              v.
                            )                      ORDER

                                             )
DOMINION LAW ASSOCIATES,
                    )

T. CAMILLE FRENCH,                           )

                                             )

                      Defendants.            )

       This matter is before the court on Plaintiffs' Motion to Strike Defendants' Affirmative

Defenses [DE-8].

                       I. FACTUAL AND PROCEDURAL HISTORY

       Plaintiff Louis Racick ("Plaintiff' or "Racick") initiated this action on February 24, 2010,

alleging one claim for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et

seq. ("FDCPA"). Specifically, Plaintiff alleges that a non-party to this action, RAB Performance,

sued a "Louis Racick" ("the Judgment Debtor") in Kings County Civil Court in New York on a

VISA credit card issued by First National Bank of Marin and obtained a judgment. Plaintiff

contends that he is not the "Louis Racick" who is the Judgment Debtor in the New York action.

Plaintiff alleges that on June 16, 2008, Defendants filed the foreign judgment on behalf of RAB

Performance against Plaintiff in Cumberland County. According to Plaintiff, a Cumberland

County deputy sheriff attempted to serve the judgment on him on June 17, 2008, but ultimately

declined to make service once Plaintiff showed proof that his social security number did not

match that of the Judgment Debtor.

       Plaintiff also alleges that Defendants persisted in their attempts to collect money from



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him. He contends "[i]n or about February 2009," he attempted to refinance his house and learned

that Defendants had done nothing to release the judgment. Plaintiff alleges he also applied for

credit to purchase a truck, but the lender would not lend to Plaintiff in his individual capacity

because of the judgment listed on his credit report.

       Plaintiff alleges that in March 2009 he called Defendants on different occasions to resolve

the malter, but Defendant French would not call him back. He also alleges Defendant Dominion

sent him a collection letter in March 2009, attempting to collect the debt that belongs to the

.J udgment Debtor. Plaintiff contends he sent a letter, certified mail return receipt, to Defendant

Dominion asking them to correct their error, but he received no response.

        More than a year after Defendants filed the notice of foreign judgment, Plaintiff retained

an attorney to contest the judgment in Cumberland County. Plaintiff contends that after his

counsel liled a motion on his    behaIt~   Defendants called Plaintiff to discuss the case. He contends

that Defendants actcd surprised to hear he had an attorney, despite having notice of the motions

tiled in the case. Eventually, Plaintiffs attorney moved to vacate the judgment, and the

uncontested motion was allowed by the presiding state court judge on November 24,2009, and

the foreign judgment was stricken from the docket.

        In th(; complaint, Plaintiff contends he is entitled to statutory damages, costs and attorney

Ices. as well as actual damages because of the "financial issues when he tricd to refinance his

house, anxiety, anger, frustration, emotional distress, inconvenience, missed work, attorney's

tees. and litigation expenses incurred in defending himself against the unlawfully placed

judgment.'· Compi. [DE-I]    ~   59.




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       Defendants filed their answer on April 9, 2010, and asserted thirteen affirmative defenses

in their answer. The first affirmative defense consisted of the Defendants' detailed responses to

each of Plaintiff's allegations in the complaint. The remainder of the affirmative defenses are as

lollows:

                                        SECOND DEFENSE
               The Complaint fails to state a claim upon which relief can be granted and
       should be dismissed pursuant to Rule 12(b)(6) of the Federal Rules of Civil
       Procedure.
                                          THIRD DEFENSE
               The plaintiffs claims are barred under the applicable statutes of
       limitations and the same is pled as an absolute bar to the plaintiffs recovery.
                                        FOURTH DEFENSE
               Any violation of law by defendants, which is specifically denied, was not
       intentional and resulted from a bona fide error notwithstanding the maintenance of
       procedures reasonably adopted to avoid any such error.
                                          FIFTH DEFENSE
               Even if the Court should tind that defendant committed the FDCPA
       violation alleged by plaintiff in his Complaint, which is denied, said violation was
       de minimis and is not the type of violation for which the purpose and intent of the
       FDCPA was proscribed.
                                          SIXTH DEFENSE
               To the extent plaintiff is entitled to damages, which defendants deny, the
       plaintiffs recovery is limited to statutory limitations set forth in 15 U.S.C. §
       1692[./
                                        SEVENTH DEFENSE
               11' plaintiff was injured or damaged, any and all such injury was a
       proximate result of the intervening and/or superseding acts and/or omissions of
       persons and/or entities not under the control of defendants.
                                         EIGHTH DEFENSE
               If plainti ff was injured or damaged, any and all injury or damage was as a
       proximate result of circumstances beyond the control of defendants.
                                          NINTH DEFENSE
               lf plaintiff was injured or damaged, any and all such injury or damage was
       as a proximate result of the acts and/or omissions of persons and/or entities not
       under the control of defendants.
                                         TENTH DEFENSE
               1L in fact, defendants performed any wrongful acts, which is specifically
       denied, such acts were not performed knowingly, purposefully, with malicious
       purpose, in bad faith, intentionally, recklessly, willfully, or wantonly.


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                                       ELEVENTH DEFENSE
               At all pertinent times, defendants acted in compliance with the Federal
       Trade Commission regulations, Federal Trade Commission stafr commentary and
       letter commentaries, and/or Federal Trade Commission advisory opinions.
                                       TWELFTH DEFENSE
                Plaintiffs claims are barred by the doctrines of laches, waiver, and/or
       estoppel.
                                     THIRTEENTH DEFENSE
                Plaintiff failed to mitigate his damages.
                                     FOURTEENTH DEFENSE
                Defendants may specifically reserve their right to assert such other and
       affirmative defenses as the same may arise.

I\ns\vcr rDE-5] at pp. 9-10.

               On April 30, 2010, Plaintiff filed a motion to strike affirmative defenses

       pursuant to Rule 12(f) of the Federal Rules of Civil Procedure. Plaintiff directly

       challenges nine of the affirmative defenses asserted by defendants, while also

       suggesting that the remaining defenses are deficient as well. Specifically, Plaintiff

       suggests that the plausibility standard set forth in Bell Atlantic Corp. v. Twombly.

       550 U.S. 544 (2007) and Ashcrofi v. Iqbal, 556 U.S. _~, 129 S.Ct. 1937 (2009)

       should apply to affirmative defenses under Rule 8(c) of the Federal Rules of Civil

       Procedure, and contends that all of the affirmative defenses asserted by

       Defendants "contain no facts whereby plaintiff cannot conceivably be put on

       notice as to the factual and legal basis for the purported defenses." Mem. in

       Support IDE-9] at p. 2. Additionally, Plaintiff argues that specific defenses are

       fl'ivolous or legally insufficient.




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           Defendants, in response, contend that the plausibility standard enunciated in Twombly

and Iqbal do not apply to affirmative defenses. Defendants also proffer offer reasons why some

0['   their affirmative defenses are neither frivolous or legally insufficient.

                                     II. STANDARD OF REVIEW

           Rule 12( 1) of the Federal Rules of Civil Procedure provides, in pertinent part. that a

"court may strike from a pleading an insufficient defense ... ," FED. R. CIv. P. 12(f). "A

delCnse is insufficient 'ifit is clearly invalid as a matter oflaw.' ., Spell v. McDaniel. 591 F.

Supp. 1090, 1112 (E.D.N.C. I 984)(quoting Anchor Hocking Corp. v. Jacksonville £lec.

Authority, 419 F.Supp. 992, 1000 (M.D.Fla. 1976)). When reviewing a motion to strike, "the

court must view the pleading under attack in a light most favorable to the pleader." Clark v.

.\lilam, 152 F.R.D. 66, 71 (S.D.W.Va. 1993).

           The Fourth Circuit has cautioned that "Rule 12(1) motions are generally viewed with

disfavor 'because striking a portion of a pleading is a drastic remedy and because it is often

sought by the movant simply as a dilatory tactic.' " Waste Mgmt. Holdings Inc. v. Gilmore, 252

FJd 316. 347 (4th Cir. 2001)(quoting 5C CHARLES ALAN WRIGHT & ARTHUR R. MILLER,

F"DERAL      PRACTICE & PROCEDURE § 1380 (2d ed. 1990)). Regardless, if a movant can show that

a dcICnse clearly is insufficient. the court should grant the motion to strike. See Spell, 591

F.Supp. at 1112. Given the disfavored status of Rule 12 (f) motions to strike defenses, however,

a defendant normally is allowed leave to amend the answer. Banks v. Realty Mgmt. Servo Inc.,

No.1 :10-CV-14, 2010 WL 420037, at * 1 (E.D.Va. Jan. 29, 2010)(citing 5C WRIGHT & MILLER §

13 g 1).




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                                            III. ANALYSIS


A. Pleading Requirements for Affirmative Defenses

           PlaintitT contends Defendants "have failed to provide any factual underpinnings of their

affirmative defenses and instead only provide conclusory and improper defenses." Mem. in

Support [DE-9] at p. 4. He implicitly suggests the pleading requirements for complaints, as set

forth in Twombly and Iqbal, apply equally to affirmative defenses in answers. Id. ("[T]he

pleader must always provide sufficient information to allow the receiving party fair notice. This

must include the 'who, what, where, and when' that underlie the pleading."). Defendants, on the

other hand. maintain the plausibility standard set forth in Ashcroft and Iqbal (which they refer to

as a heightened pleading standard) does not extend to affirmative defenses.

           1. Twombly and Iqbal cases

           In Twombly, the Supreme Court explained that to prevail against a motion to dismiss, a

plaintilT must plead sufficient facts to "state a claim to relief that is plausible on its face." 550

LJ .S. at 570. Under this plausibility standard, a complaint need not contain "detailed factual

al legations"-but it must contain "more than labels and conclusions" or a "formulaic recitation of

the clements ora cause of action." Id. at 555.

           In Iqbal. the Supreme Court further explained the process a district court should use when

reviewing a motion to dismiss a claim under Rule 12(b)(6). First, a court should "identify

pleadings that. because they are no more than conclusions, are not entitled to the assumption of

truth."    129 S.Ct. at 1950. Second, a court should the "assume the veracity" of any well-pleaded

f~1Ctual   allegations, and "then determine whether they plausibly give rise to an entitlement to

relief" Jd. "The plausibility standard is not asking to a 'probability requirement: but it asks for


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morc than a sheer possibility that defendant has acted unlawfully." Id. (quoting Twombly, 440

l,J.S. at 556.). The Court also explained: "A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged." Id. at 1949.

       2. Application of Twombly and Iqbal to affirmative defense

       Neither the Fourth Circuit Court of Appeals, nor any other circuit court of appeals, has

addressed whether Twombly and Iqbal should be interpreted as applying to affirmative defenses.

There is a split of authority among the district courts to address the question. The majority of the

district courts-including every district court within the Fourth Circuit to have considered the

issue-have concluded that the plausibility standard articulated in Twombly and Iqbal applies to

the pleading of affirmative defenses. See. e.g., Francisco v. Verizon South, Inc., No. 3:09cv737,

2010 WL 2990159 at **7-8 (E.D.Va. July 29. 2010)(collecting cases)l; Bradshaw v. Hi/co



        1  The Eastern District of Virginia noted that in the following cases district courts
hewed to the majority view:
   rocal165 v. DEMIEXGroup Inc., No. 09-1356, 2010 WL 97181 L at *2 (C.D.Ill. Mar.
   1 L 2010); OSF Healthcare Sys. v. Banno, No. 08-1096, 2010 WL 431963, at *2 (C.D.Il!.
   .Ian. 29, 2010); Hayne v. Green Ford Sales, Inc., 263 F.R.D. 647. 649-50 (D.Kan.2009);
   Tara Prods.. Inc. v. Hollywood Gadgets, Inc., No. 09-61436-CIV, 2009 WL 4800542, at
   * 1 (S.D.Fla. Dec. 11, 2009) (finding that defendants must provide fair notice of
   affirmative defenses and the grounds on which they rest); Burget v. Capital W Sec.,
   /nc .. No. CIV-09-1015-M, 2009 WL 4807619, at *2 (W.D.Okla. Dec. 8,2009); Banko!
   A/on/real v. SK Foods, LLC, No. 09 C 3479, 2009 WL 3824668, at *2 (N.O.IIl. Nov. 13,
   2(09) (holding that affirmative defenses must meet pleading standards set forth in
   Rules 8 and 9); Tracy v. NVR, Inc., No. 04- CV-6541 L, 2009 WL 3153150, at *7 (W.D
   .N.Y. Sept. 30, 2009); GreenheckFan Corp. v. Loren Cook Co., No. 08-cv-335-jps, 2008
   WL 4443805, at *1-2 (W.D.Wis. Sept. 25,2008); In re Mission Bay Ski & Bike, Inc.,
   Nos. 07 B 20870, 08 A 55, 2009 WL 2913438, at *6 (Bankr.N.D.IlI. Sept. 9, 2009);
   Kaufmann
        .      v. Prudential Ins. Co. orAm.,
                                       .      No. 09-10239-RGS, 2009 WL 2449872, at *1
   (D.Mass. Aug. 6, 2009) (court inclined to think that defendants have the same Rule 8
   obligations as do plaintiffs); Shinew v. Wszola, No. 08-14256, 2009 WL 1076279, at *3

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Receivables, LLC _     F. Supp.2d _,2010 WL 2948181 at *3 (D.Md. July 27, 2010); Palmer v.

Oak/and Farms, Inc., No. 5:10cv00029, 2010 WL 2605179 at *5 (W.D.Ya. June 24, 2010). The

n:asoning cited by these courts typically is two-fold. First, the courts recognize that what is good

for the goose is good for the gander, and reason that "it makes neither sense nor is it fair to

require a plaintiff to provide the defendant with enough notice that there is a plausible, factual

basis for her elaim under one pleading standard and then permit a defendant under another

pleading standard simply to suggest that some defense may possibly apply in the case." Palmer,

2010 WL 2605 I79 at *4. Second, the courts note that "[b]oilerplatc defenses clutter the docket

and ... create unnecessary work" and extended discovery. Safeeo, 2008 WL 2558015 at *1.

       A minority of courts have refused to extend the plausibility standard to the pleading of

anirmative defenses. See Francisco, 2010 WL 2990159 at *6 n.4 (collecting cases)." These



   (1~.D.Mich.  Apr. 21,2009); Aspex Eyewear, Inc. v. Clariti Eyewear, Inc., 531
   F.Supp.2d 620,623 (S.D.N.V.2008) ("Mere conelusory assertions are not sufficient to
   give plaintiffs notice of the counterclaims and defenses and, thus, do not meet Rule
   8(a)'s pleading standards."); Stoffels ex reI. SBC Tel. Concession Plan v. SEC
   Commc'ns, Inc., No. 05-CY-0233-WWJ, 2008 WL 4391396, at *1 (W.n.Tex. Sept. 22,
   2008); .)'a/eco Ins. Co. alAmo v. O'Hara Corp., No. 08-CY-I0545, 2008 WL 2558015, at
   * 1 (E.D. Mich. June 25, 2008); Holtzman v. 13/£ Aerospace, Inc., No. 07-80551-CIY,
   200S WL 2225668, at *2 (S.D.Fla. May 29,2008); Uniled Slales v. Quadrini, No. 2:07­
   CV -13227,2007 WL 4303213, at *3-4 (E.D.Mich. Dec. 6,2007); Home Mgmt.
   SoluIions, Inc. v. Prescient, Inc., No. 07-20608, 2007 WL 2412834, at *3 (S.D.Fla.
   Aug. 21, 2007).
Francisco, 20] 0 WL 20000159 at *6 n.3. Sinee the decision in Francisco, at least other
court has joined the majority view. See Castillo v. Roche Laboratories, Inc., No. ]0-20876­
CIV, 2010 WL 3027726 (S.D.Fla. Aug. 2, 2010).

       2  The Francisco court cited the following cases as declining to extend the plausibility
standard to affirmative defenses:
       Amerislar Fence Prods.. Inc. V. Phoenix Fence Co., No. CV-I0-299-PHXDGC,
       20 10 WL 2803907, at *1 (D.Ariz. July 15, 2010); McLemore V. Regions Bank,
       Nos. 3:08cv0021, 3:08cvl003, 2010 WL 1010092, at *13 (M.D.Term. Mar. 18,

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courts reason that Twombly and Iqbal addressed only Rule 8(a)3 of the Federal Rules of Civil

Procedure, and neither Rule 8(b)4 nor Rule 8( C)5 contain the same language. See First National

Insurance, 2009 WL 22861 at *2. Additionally, courts have noted that it may be unfair to require

a defendant, who has only 21 days to respond to a complaint, to adhere to the same pleading

standard as a plaintiff who often enjoys significantly greater time to develop factual support for

claims. ,)'ee Palmer, 201 OWL 2605179 at *4.

       This court, however, agrees with the district courts within the Fourth Circuit that have

consid~red   the question and concludes that "the considerations or fairness, common sense and

litigation c1Ticiency underlying Twombly and Iqbal" mandate that the same pleading

rcquirements apply equally to complaints and affirmative defenses. Id. at *5. See also

Fl'Cll1cisco, 20 I0 WL 2990159 at * 7 ("[T]he purpose of pleading requirements is to provide

enough notice to the opposing party that indeed there is some plausible, factual basis for the



       20 I0); Holdbrook v. SAIA Motor Freight Line, LLC, No. 09-cv-02870-LTB-BNB,
       20 I0 WL 865380, at *2 (D.Colo. Mar. 8,2010); Charleswell v. Chase Manhattan
       Bank, N.A., No. 01-119,2009 WL 4981730, at *4 (D.V.I. Dec. 8,2009);
       Romantine v. CH2M Hill Eng'rs, Inc., No. 09-973,2009 WI. 3417469, at * I
       (W.D.Pa. Oct. 23, 2009); First Nat'l Ins. Co. qfAm. v. Camps Servs., Ltd., No.
       08-cv-12805, 2009 WL 22861, at *2 (E.D.Mich. Jan. 5,2009); Westbrook v.
       Paragon Sys., Inc., No. 07-0714-WS-C, 2007 U.S. Dist. LEXIS 88490, at *2
       (S.D. Ala. Nov. 29, 2007).
Francisco, 2010 WL 2990159 at *6 0.4.


       3  Rule 8(a)(2) mandates that "[a] pleading that states a claim for relief must contain a
short and plain statement of the claim that showing that the pleader is entitled to relief."

        4 Rule 8(b)(l)(A) requires a defendant's answer to "state in short and plain terms its

c.kfcnse to each claim asserted against it."

       5   Rule 8(c) requires parties to "a11irmatively state any ... affirmative defense."

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assertion and not simply a suggestion of possibility that it may apply to the case. An even­

handed standard as related to pleadings ensures that the affirmative defenses supply enough

information to explain the parameters of and basis for an affirmative defense such that the

advcrsc party an reasonably tailor discovery.")(intemal quotations and citations omitted,

alteration in original). The court also notes that applying the same pleading requirements to

defendants should not stymie the presentation of a vigorous defense, because under Rule 15(a) of

the Fcdcral Rules of Civil Procedure, a defendant may seek leave to amend its answers to assert

delCnses based on facts that become known during discovery.

B. Challenged Affirmative Defenses

       Accordingly, the court will now tum to the affirmative defenses asserted by Defendants to

determine if they have been pleaded in manner that is "intelligible, gives fair notice, and is

plausibly suggested by the facts." Palmer, 2010 WL 2605179 at *5. "At a minimum, the facts

asserted in an affirmative defense, and the reasonable inferences that may be drawn from those

facts. must plausibly suggest a cognizable defense." Topline Solutions, Inc. v. Sandler "));.'1., Inc.,

Civ. No. L-09-31 02,2010 WL 2998836 at * 1 (D.Md. July 27, 2010).

        1. Second Affirmative Defense of Failure to State a Claim

       Defendants' second affirmative defense states: "The Complaint fails to state a claim upon

\\hich relief can be granted and should be dismissed pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure." Answer [DE-5 J at p. 9. Other courts that have applied the plausibility

standard to pleading to affirmative defenses have ruled that such a conclusory defense must be

stricken. See Castillo, 2010 WL 3027726 at *4 (ruling that a defense contending "Plaintiff's

Complaint fails, in whole or in part, to state a claim upon which relief may be granted" is


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"insu11icient as it is no more than the a recitation of the standard for dismissal under Rule

12(h)(6) and fails to notify Plaintiffofthe deficiencies in the Complaint"); Topline, 2010 WL

2998836 at   ** 1-2 (striking the affirmative defense "It]he Complaint fails to state a claim upon
\\hich relief can be granted" because it contained no facts and was "too conclusory to provide

['air notice of the grounds on which" it stood), Accordingly, Defendants' second affirmative

defense is stricken, with leave to amend to provide the requisite factual particularity,

        2. Third Affirmative Defense of Statute of Limitations

        Defendants' third affirmative asserts: "The plaintiff s claims are barred under the

applicable statute oflimitations and the same is pled as an absolute bar to the plaintiff's

recovery."" Answer lDE-5] at p. 9. Again, courts have stricken similarly-worded affirmative

dclcl1sCS lor railure to reference the specific statute and relevant time periods. c)'ee, e.g., Topline,

2010 WL 2998836 at *2; Hayne, 263 F.R.D. at 651 (explaining that "a defense of limitations

might be asserted by alleging the number of years between the accrual of the claim and the

commencement of the action" so that the pleader can show "some valid premise for asserting the

dclcnsc and is not merely tossing it into the case likc a fish hook without bait"). Defendants'

third affirmative defense, theretore, is stricken.

        The court notes that Plaintiff appears to argue that the statute of limitations defense

cannot apply, as a matter of law, because Defendants have admitted that certain actions took

place within the one-year statute of limitations applicable to the FDCPA. See 15 U.S.c. §

16C)2(d). As Defendants note, however, Plaintiff does include allegations concerning actions that




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occurred, or may have occurred, outside the statute of limitations. Therefore, Defendants are

givcn leave to amend their answer to provide the requisite factual particularity.6

         3. Fourth Affirmative Defense of Bona fide error

         Defendants' fourth affirmative defense contends: "Any violation oflaw by defendants,

which is specifically denied, was not intentional and resulted from a bona fide error

notwithstanding the maintenance of procedures reasonably adapted to avoid any such error."

Answer [DE-51 at p. 9. Defendants have essentially copied the language in 15 U.S.c. §

1692k(c), but have not provided any notice of the specific error upon which it relies to assert the

cklCnsc. Consequently, Defendants' fourth affirmative defense is stricken with leave to amend to

cure this pleading deficiency. See Bradshaw, _       F.Supp.2d at _,2010 WL 294818 at *4. Of

course. any attempt to replead the affirmative defense of bona fide error must be in accordance

with the Supreme Court's recent ruling that the defense does not apply "to a violation resulting

i]'om a debt collector's mistaken interpretation of the legal requirements of the FDCP A." Jerman

l'   ('ur/is!e. Me/v'ellie, Rini, Kramer & Ulrich LPA, __ U.S. _ _. 130 S.Ct. 1605, 1608 (2010).

         4. Fifth Affirmative Defense De minimis violation

         Defendants assert, as their tifth affirmative defense: "Even if the Court should find that

ddcndant committed the FDCPA violation alleged by the plaintiff in his Complaint, which is

denied. said violation was de minimis and is not the type of violation for which the purpose and

intent orthc FDCPA was proscribed." Answer [DE-5] at p. 9.




        6 Given the brevity of the parties' briefing on this particular affirmative dcfense, the court
is no! reaching the question of whether any portion of the Plaintiff's FDCPA claim is barred by
the statute of limitations.

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       Plaintiff argues this defense must be stricken because the FDCPA is a strict liability

statute, and "[a]bsent the successful litigation of the bona fide error defense, any violation

establishes statutory liability, making the offending debt collector responsible for statutory

damages, any provable actual damages, and reasonable attorney fees and costs to the successful

plaintiff. -, Mem. in Support [OE-9] at p. 9. In other words, Plaintiff contends that a de minimis

defense is never applicable to a FDCPA claim.

       Defendants, however, contend that courts have the discretion to decline to award statutory

damages where the violation of the FOCPA is de minimis. See Pipiles v. Credit Bureau of

I_ockporl, Inc., 886 F.2d 22, 28 (2d Cir. I989)(affirming district court's decision not to award

statutory damages where defendant did not intend to deceive or harass the plaintiff and there was

no evidence that defendant "frequently or persistently" violated the FOCPA); Emanuel v.

:Imericun Credit Exchange,   870 F,2d 805, 809 (2nd Cif. 1989)(finding that a plaintiff was not

en titled to statutory damages where the violation ofthe FOCPA consisted of sending one letter

that neglected to inform the plaintiff that information provided by the plaintiff would be used to

collect a debt). Defendants appear to implicitly accept that they cannot be completely absolved

oC liability upon a finding that any alleged violation is de minimis; instead, they appear to

suggest. via the cases they cite, that the de minimis nature of any alleged violation is relevant to

PlaintiJrs claim for damages. Notably, the asserted defense does not mention damages or injury

sufTered by the Plaintiff. Therefore, it is unclear how the Plaintiff would be on notice that this

defense is meant to apply to the measure of the available remedies under the FOCPA.

       Accordingly, the fifth affirmative defense is stricken. The court will, however, allow

De ICndan ts leave to replead this defense in a more specific manner and wi th the needed factual


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particularity. Because the Defendants have cited authority showing that the de minimis nature of

a violation may be relevant to the valuation of statutory damages, the court cannot conclude at

this time that such defense is legally insufficient.

        5. Sixth affirmative defense

        As their sixth affirmative defense, Defendants assert: "To the extent plaintiff is entitled to

damages, which defendants deny, the plaintiff's recovery is limited to statutory limitations set

forth in IS U.S.C. § 1692." Answer [DE-5] at p. 9. The court finds that this meets the fair notice

pleading standard of Twombly-Iqbal.

        6. Seventh, eighth, and ninth affirmative defenses

        Defendants assert, as their seventh, eighth, and ninth defenses, that if Plaintiff was injured

or damaged, such injury "was a proximate result of the intervening and/or superseding acts

and/or omissions or persons and/or entities not under the control of dcfendants"or "was as a

proximate result of circumstances beyond the control of defendants" or "was as a proximate

rcsul t 0 I' the acts and/or omissions of persons and/or entities not under the control of defendants."

j\ nswcr I D1:-5 J at pp. 9-10. The court finds that these boilerplate affirmative defenses, with no

assertion of any facts that would allow drawing of reasonable inference that such defenses are

plausible, fail to meet the notice pleading standard. See Burns v. Dodeka, LLC, No. 4:09-CY-19­

I3J. 2010 WL 1903987 at * 1 (N.D. Tex. May 11, 2010)(explaining that a defendant's affirmative

defense of proximate cause that was "wholly conclusory" and "fail[ed] to plead any facts that

demonstrate the plausibility of such defenses" must be stricken).

       The court recognizes that PlaintifT argues that any "proximate cause" defense is

insuClicicnt as a matter of law as incompatible with the FDCPA. The court, however, assumes


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\vithout deciding at this time, that such a defense may be applicable in as much as Plaintiff

claims actual damages under the FDCP A. Therefore, Defendants are given leave to amend their

answer to provide the requisite factual particularity.

           7. Tenth affirmative defense condition of the mind

           Defendants assert in their tenth atIirmative defense: "If, in fact, defendants performed any

'vHongful acts, which is specifically denied, such acts were not performed knowingly, purposely,

with malicious purpose, in bad faith, intentionally, recklcssly, willfully, or wantonly." Answer

lDt-51 at p. 10. The court finds that this defense meets the notice pleading requirements of

7\l'oll1h/y-lqbal, because it pleads a condition of the mind, and thercfore complies with Rule 9(b)

of the Federal Rules of Civil Procedure. Palmer, 2010 WL 2605179 at *6 (concluding that

~tllirmati\'e   defenses pleading good faith and the absence of improper motive comply with Rule

()( b)   and thcrefore should not be stricken). Notwithstanding Plaintiff's arguments to the contrary,

the court assumes, for the time being, that such a defense may be applicable to Plaintiffs claims

It)!' actual damages and the valuation of statutory damages.

           8. Eleventh affirmative defense compliance with Federal Trade Commission

           Defendants' eleventh atIirmative defense states: "At all pertinent times, defendants acted

ill compliance with the Federal Trade Commission regulations, Federal Trade Commission staff

commcntary and letter commentaries, and lor Federal Trade Commission advisory opinions."

/\nswcr [DE-5) at p. 10. It is unclear to the court how this constitutes a "defense" to Plaintiffs

claims. In any cvent, Plaintiff does not directly challenge this affirmative defense, and the court

d~clincs     to strike it.




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       9. Twelfth affirmative defense of doctrines of laches, waiver, and/or estoppel

       Defendants' twelfth affirmative defense contends that the doctrines of lachcs, waiver

and/or estoppel bar Plaintiffs claim. Answer [DE-51 at p. 10. The court determines that this

dcknsc fails to meet the notice pleading requirements because it is a bare legal conclusion.

f\tlmer, 2010 WL 2605179 at *6.

       Plaintiff also argues that these defenses are inapplicable to this action. Because

DcCendants have failed to provide any factual predicate for the assertion of this defense, the court

cannot yet disagree or agree with Plaintiffs contention. The court therefore will grant leave to

amend the answer with respect to this defense.

        10. Thirteenth affirmative defense failure to mitigate damages

       Similarly, Defendants' thilieenth affirmative defense, asserting "Plaintiff failed to

mitigate his damages," Answer [DE-5] at p. 10, also must be stricken. Defendants fail, again, to

provide any factual basis that would allow the inference that this defense is plausible. Cf

Francisco. 20 I0 WL 2990159 at *9 (finding that the affirmative defense of failure to mitigate

damages was adequately pled where the defendant alleged the plaintitT failed to apply for another

job within a specified time period). Although Plaintiff contests the applicability of this defense

in its entirety, the court will assume, for the time being, that such a defense-if it is pleaded with

an adequate {actual basis-may be applicable to Plaintiffs claim for actual damages, and therefore

Defendants are granted leave to amend the answer with respect to this dcfense to provide an

adequate   f~lctual   basis.




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       1]. Fourteenth affirmative defense of reservation of rights to assert additional
       defense

       In their fourteenth at1irmative defense, Defendants "specifically reserve their right to

assert such other and af1lrmative defenses as the same may arise." Answer [DE-5] at p. 10. Like

the Western District of Virginia, this court finds this assertion to be "unnecessary" and subject to

be stricken because it "is simply not a defense of any kind, much less an affirmative one."

Po/mer, 2010 WL 2605179 at *6. The fourteenth affirmative defense is therefore stricken.

                                       IV. CONCLUSION

       For the foregoing reasons, Plaintiffs Motion to Strike [DE-8] is ALLOWED in part.

Specifically, the following defenses asserted in the Answer are STRICKEN: Defendants' Second,

['hird. Fourth, Fifth, Sixth, Seventh, Eighth, Ninth, Twelfth, Thirteenth, and Fourteenth defenses.

The Motion is DENIED with respect to Defendants' Sixth, Tenth and Eleventh defenses. The

court. however, grants leave to Defendants to file, within fourteen (14) days of the filing date of

this order. an amended answer curing the pleading defects noted herein.

       SO ORDERED.


       This the   _~ day of October, 2010.



                                                          ES C. FOX
                                                        nior United States District Judge




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